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  1
      Stephen M. Doniger (SBN 179314)
      stephen@donigerlawfirm.com
  2   Scott A. Burroughs (SBN 235718)
  3
      scott@donigerlawfirm.com
      Elina E. Kharit (SBN 261029)
  4   ekharit@donigerlawfirm.com
  5
      DONIGER/BURROUGHS
      603 Rose Avenue
  6   Venice California 90291
  7
      Telephone: (310) 590-1820

  8   Attorneys for Plaintiff
  9
                             UNITED STATES DISTRICT COURT
 10
                           CENTRAL DISTRICT OF CALIFORNIA
 11

 12   AUGUST IMAGE, LLC, a New York Limited Case No.: 2:20-cv-07208-VAP-JPR
                                            Hon. Virginia A. Phillips Presiding
 13   Liability Company,
 14
      Plaintiff,                                      PLAINTIFF’S SECOND AMENDED
 15                                                   COMPLAINT FOR COPYRIGHT
      v.                                              INFRINGEMENT
 16

 17   PENSKE MEDIA CORPORATION d/b/a                    Jury Trial Demanded
      HOLLYWOODLIFE.COM, a Delaware
 18
      Corporation; and DOES 1 through 10,
 19
      Defendants.
 20

 21

 22          AUGUST IMAGE, LLC, by and through its undersigned attorneys, hereby
 23   prays to this honorable Court for relief based on the following:
 24                              JURISDICTION AND VENUE
 25          1.     This action arises under the Copyright Act of 1976, Title 17 U.S.C., § 101
 26   et seq.
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                                      SECOND AMENDED COMPLAINT
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  1         2.    This Court has federal question jurisdiction under 28 U.S.C. § 1331 and
  2   1338 (a) and (b).
  3         3.    Venue in this judicial district is proper under 28 U.S.C. § 1391(c) and
  4   1400(a) in that this is the judicial district in which a substantial part of the acts and
  5   omissions giving rise to the claims occurred.
  6                                         PARTIES
  7         4.    Plaintiff AUGUST IMAGE, LLC (“AUGUST”) is a New York Limited
  8   Liability Company, with its primary place of business located at 793 Broadway,
  9   New York, New York, 10003. AUGUST is a full-service rights managed collection,
 10   dedicated to representing an elite group of portrait, lifestyle, beauty & fashion
 11   photographers for editorial and commercial licensing. AUGUST exclusively
 12   administers the infringed copyright rights at issue in this action.
 13         5.    Plaintiff is informed and believes and thereon alleges that Defendant
 14   PENSKE MEDIA CORPORATION d/b/a HOLLYWOODLIFE.COM (“PMC”) is a
 15   Delaware corporation with its primary place of business located at 11175 Santa
 16   Monica Blvd, Los Angeles, California 90025 and is the owner of the website at
 17   https://hollywoodlife.com/.
 18         6.    Plaintiff is informed and believes and thereon alleges that Defendants
 19   DOES 1 through 10, inclusive, are other parties not yet identified who have infringed
 20   Plaintiff’s copyrights, have contributed to the infringement of Plaintiff’s copyrights,
 21   or have engaged in one or more of the wrongful practices alleged herein. The true
 22   names, whether corporate, individual or otherwise, of Defendants 1 through 10,
 23   inclusive, are presently unknown to Plaintiff, which therefore sues said Defendants
 24   by such fictitious names, and will seek leave to amend this Complaint to show their
 25   true names and capacities when same have been ascertained.
 26         7.     Plaintiff is informed and believes and thereon alleges that at all times
 27   relevant hereto each of the Defendants was the agent, affiliate, officer, director,
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  1   manager, principal, alter-ego, and/or employee of the remaining Defendants and was
  2   at all times acting within the scope of such agency, affiliation, alter-ego relationship
  3   and/or employment; and actively participated in or subsequently ratified and/or
  4   adopted each of the acts or conduct alleged, with full knowledge of all the facts and
  5   circumstances, including, but not limited to, full knowledge of each violation of
  6   Plaintiff’s rights and the damages to Plaintiff proximately caused thereby.
  7              CLAIMS RELATED TO SUBJECT PHOTOGRAPHS 1-3
  8         8.    Mark Williams and Sara Hirakawa (“Williams + Hirakawa”) are a
  9   husband and wife photographer duo who specialize in fashion, celebrity portraiture,
 10   life-style, apparel, travel, beauty and motion photography.
 11         9.    Williams + Hirakawa own the original photographs of actresses Elle
 12   Fanning, photograph “AU11035398” shown below which was registered with the
 13   United States Copyright Office on August 24, 2018, under Registration Numbers VA
 14   2-120-244 (Subject Photograph 1).
 15
                                  Subject Photograph 1

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 24         10. Williams + Hirakawa own the original photograph of actresses Hailee
 25   Steinfeld, photograph 2 titled “AU11035514” shown below which was registered
 26   with the United States Copyright Office on August 24, 2018, under Registration
 27   Numbers VA 2-120-245 (Subject Photograph 2).
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  1
                                    Subject Photograph 2

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           11.    Williams + Hirakawa own the original photograph of actresses Hailee
 11
      Steinfeld, photograph 3 titled “AU11035518” shown below which was registered
 12
      with the United States Copyright Office on August 24, 2018, under Registration
 13
      Numbers VA 2-120-245 (Subject Photograph 3).
 14                              Subject Photograph 3
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 24        12.    For all times relevant to his action, Williams + Hirakawa have appointed
 25   Plaintiff AUGUST as their exclusive administrator and publisher of all copyright
 26   rights in and to Subject Photographs 1 through 3 (collectively, the “Subject
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                                    SECOND AMENDED COMPLAINT
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  1   Photographs”). As such, AUGUST is entitled to institute and maintain this action for
  2   copyright infringement. 17 U.S.C §501(b).
  3        13.    Plaintiff is informed and believes and thereon alleges that following its
  4   publication and display of the Subject Photographs, PMC, DOE Defendants, and
  5   each of them used the Subject Photographs without Plaintiff’s authorization for
  6   commercial purposes in various ways, including, but not limited to, the use on
  7   websites such as https://hollywoodlife.com.
  8        14.    Screen captures of said uses are set forth hereinbelow:
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                                    SECOND AMENDED COMPLAINT
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                    CLAIMS RELATED TO SUBJECT PHOTOGRAPHS 4-5
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              15.    Peter Yang (“Yang”) is a professional photographer and is a regular
 11
      contributor to Rolling Stone, GQ, and Variety, and has shot campaigns for Levis,
 12
      Comedy Central, and Def Jam, and others. He resides in Los Angeles, California.
 13
      His work has been recognized by the American Photography and Communication
 14
      Arts.
 15
              16.   Yang owns the original photograph of actor Samuel L. Jackson titled
 16
      “AU1242568” shown below which was registered with the United States Copyright
 17
      Office on June 5, 2019, under Registration Number VA 2-156-010 (Subject
 18
      Photograph 4).
 19
                                      Subject Photograph 4
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                                     SECOND AMENDED COMPLAINT
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  1        17.    Yang owns the original photograph titled “AU1251695” shown below
  2   which was registered with the United States Copyright Office on June 5, 2019, under
  3   Registration Number VA 2-156-010 (Subject Photograph 5).
  4                                     Subject Photograph 5
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 15        18.    For all times relevant to his action, Yang has appointed Plaintiff
 16   AUGUST as his exclusive administrator and publisher of all copyright rights in and
 17   to Subject Photograph 4 and Subject Photograph 5 (collectively, the “Subject
 18   Photographs”). As such, AUGUST is entitled to institute and maintain this action for
 19   copyright infringement. 17 U.S.C §501(b).
 20        19.    Plaintiff is informed and believes and thereon alleges that following its
 21   publication and display of the Subject Photographs, PMC, DOE Defendants, and
 22   each of them used the Subject Photographs without Plaintiff’s authorization for
 23   commercial purposes in various ways, including, but not limited to, the use on
 24   websites such as https://hollywoodlife.com and https://sheknows.com.
 25        20.    Screen captures of said uses are set forth hereinbelow:
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                                    SECOND AMENDED COMPLAINT
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                  CLAIMS RELATED TO SUBJECT PHOTOGRAPH 6

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           21.     Joseph Pugliese (“Pugliese”) is a Los-Angeles based professional

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      photographer focusing on portraiture and reportage, whose works have been featured

 22
      in Vanity Fair, The Hollywood Reporter, Wired, Esquire, GQ Magazine, The New

 23
      Yorker, Billboard, and others.

 24
           22.    Pugliese owns the original photograph of actress Jennifer Lawrence

 25
      titled “AU1252654” shown below which was registered with the United States

 26
      Copyright Office on June 10, 2014, under Registration Number VAu 1-174-879

 27
      (Subject Photograph 6).

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                                   SECOND AMENDED COMPLAINT
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  1                                  Subject Photograph 6
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 10        23.    For all times relevant to his action, Pugliese has appointed Plaintiff
 11   AUGUST as his exclusive administrator and publisher of all copyright rights in and
 12   to Subject Photograph 6. As such, AUGUST is entitled to institute and maintain this
 13   action for copyright infringement. 17 U.S.C §501(b).
 14        24.    Plaintiff is informed and believes and thereon alleges that following its
 15   publication and display of the Subject Photograph 6, PMC, DOE Defendants, and
 16   each of them used the Subject Photograph 6 without Plaintiff’s authorization for
 17   commercial purposes in various ways, including, but not limited to, the use on
 18   websites such as https://hollywoodlife.com.
 19        25.    Screen captures of said uses are set forth hereinbelow:
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                                    SECOND AMENDED COMPLAINT
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   1              CLAIMS RELATED TO SUBJECT PHOTOGRAPHS 7-17
   2        26.     William Arthur Streiber, p/k/a Art Streiber (“Streiber”) is a Los
   3   Angeles based photographer and director specializing in reportage, portraiture,
   4   corporate, entertainment and advertising projects.
   5        27.    Streiber owns the original photograph of film director James Cameron
   6   titled “AU179088” which was registered with the United States Copyright Office on
   7   March 11, 2019, under Registration Number VA 2-141-902 (Subject Photograph 7).
   8                                  Subject Photograph 7
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  16        28.    Streiber owns the original photograph of the stars of the ABC drama
  17   series Scandal titled “AU1356227” shown below which was registered with the
  18   United States Copyright Office on May 14, 2019, under Registration Number VA 2-
  19   158-022 (Subject Photograph 8).
  20                                     Subject Photograph 8
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                                     SECOND AMENDED COMPLAINT
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   1        29.   Streiber owns the original photograph of Tiffany Haddish titled
   2   “AU11215528” shown below which was registered with the United States Copyright
   3   Office on May 14, 2019, under Registration Number VA 2-158-022 (Subject
   4   Photograph 9).
   5                                Subject Photograph 9
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  14        30.   Streiber owns the original photograph titled “AU1605711” shown below
  15   which was registered with the United States Copyright Office on February 11, 2020,
  16   under Registration Number VA 2-190-187 (Subject Photograph 10).
  17                                Subject Photograph 10
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  25        31.   Streiber owns the original photographs titled “AU1126514” shown
  26   below which was registered with the United States Copyright Office on October 21,
  27   2020, under Registration Number VA 2-226-637 (Subject Photograph 11).
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                                    SECOND AMENDED COMPLAINT
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   1                                Subject Photograph 11
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  10        32.   Streiber owns the original photograph titled “AU1364244” shown below
  11   which was registered with the United States Copyright Office on March 31, 2020,
  12   under Registration Number VA 2-201-749 (Subject Photograph 12).
  13                                Subject Photograph 12
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  22        33.   Streiber owns the original photograph titled “AU159656” shown below
  23   which was registered with the United States Copyright Office on March 11, 2019,
  24   under Registration Number VA 2-141-902 (Subject Photograph 13).
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  26   //
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                                   SECOND AMENDED COMPLAINT
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   1                                Subject Photograph 13
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  11        34.   Streiber owns the original photograph titled “AU159653” shown below
  12   which was registered with the United States Copyright Office on March 11, 2019,
  13   under Registration Number VA 2-141-902 (Subject Photograph 14).
  14                                Subject Photograph 14
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  24        35.   Streiber owns the original photograph titled “AU11471165” shown
  25   below which was registered with the United States Copyright Office on March 11,
  26   2019, under Registration Number VA 2-141-902 (Subject Photograph 14).
  27   //
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                                   SECOND AMENDED COMPLAINT
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   1                                Subject Photograph 15
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  11        36.   Streiber owns the original photograph titled “AU159654” shown below
  12   which was registered with the United States Copyright Office on March 11, 2019,
  13   under Registration Number VA 2-141-902 (Subject Photograph 16).
  14                               Subject Photograph 16
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  24        37.   Streiber owns the original photograph titled “AU159652” shown below
  25   which was registered with the United States Copyright Office on March 11, 2019,
  26   under Registration Number VA 2-141-902 (Subject Photograph 17).
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                                   SECOND AMENDED COMPLAINT
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   1                                 Subject Photograph 17
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  12        38.    For all times relevant to his action, Streiber has appointed Plaintiff
  13   AUGUST as his exclusive administrator and publisher of all copyright rights in and
  14   to Subject Photograph 7 through Subject Photograph 17 (collectively, the “Subject
  15   Photographs”). As such, AUGUST is entitled to institute and maintain this action for
  16   copyright infringement. 17 U.S.C §501(b).
  17        39.    Plaintiff is informed and believes and thereon alleges that following its
  18   publication and display of the Subject Photographs, PMC, DOE Defendants, and
  19   each of them used the Subject Photographs without Plaintiff’s authorization for
  20   commercial purposes in various ways, including, but not limited to, the use on
  21   websites such as https://hollywoodlife.com, https://pmcdeadline.com, and
  22   https://sheknows.com.
  23        40.    Screen captures of said uses are set forth hereinbelow:
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  25   //
  26   //
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  20              CLAIMS RELATED TO SUBJECT PHOTOGRAPHS 18-28
  21        41.     Sebastian Kim (“Kim”) is an American fashion and portrait
  22   photographer whose clients include American Vogue, Harper’s Bazaar, Vogue
  23   Germany, Vogue Japan, Vogue Australia, Interview, L’Uomo Vogue, Time
  24   Magazine, Calvin Klein, Bulgari, Armani, Gap, and Uniqlo among others.
  25        42.     Kim owns the original photograph titled “AU1994089” shown below
  26   which was registered with the United States Copyright Office on March 11, 2020,
  27   under Registration Number VA 2-199-818 (Subject Photograph 18).
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                                    SECOND AMENDED COMPLAINT
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   1                                Subject Photograph 18
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  10          43.   Kim owns the original photograph titled “AU1993746” of singer Katy
  11   Perry shown below which was registered with the United States Copyright Office on
  12   March 11, 2020, under Registration Number VA 2-199-818 (Subject Photograph
  13   19).
  14                                Subject Photograph 19
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  22          44.   Kim owns the original photograph titled “AU11000822” of rapper
  23   Nicki Minaj shown below which was registered with the United States Copyright
  24   Office on March 11, 2020, under Registration Number VA 2-199-785 (Subject
  25   Photograph 20).
  26   //
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                                    SECOND AMENDED COMPLAINT
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   1                                Subject Photograph 20
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  12        45.    Kim owns the original photograph titled “AU11000824” shown below
  13   which was registered with the United States Copyright Office on March 11, 2020,
  14   under Registration Number VA 2-199-785 (Subject Photograph 21).
  15                                Subject Photograph 21
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  23        46.    Kim owns the original photograph titled “AU1993526” of Drake shown
  24   below which was registered with the United States Copyright Office on April 6,
  25   2020, under Registration Number VA 2-202-146 (Subject Photograph 22).
  26   //
  27   //
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                                    SECOND AMENDED COMPLAINT
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   1                               Subject Photograph 22
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  11        47.    Kim owns the original photograph titled “AU11242791” of actor
  12   Norman Reedus shown below which was registered with the United States
  13   Copyright Office on February 27, 2020, under Registration Number VA 2-198-315
  14   (Subject Photograph 23).
  15                               Subject Photograph 23
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  24        48.    Kim owns the original photograph titled “AU11000561” of actress Kate
  25   Bosworth shown below which was registered with the United States Copyright
  26   Office on March 11, 2020, under Registration Number VA 2-199-785 (Subject
  27   Photograph 24).
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                                   SECOND AMENDED COMPLAINT
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   1                                Subject Photograph 24
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  10        49.    Kim owns the original photograph titled “AU11000119” shown below
  11   which was registered with the United States Copyright Office on February 27, 2020,
  12   under Registration Number VA 2-198-319 (Subject Photograph 25).
  13                                Subject Photograph 25
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  23        50.    Kim owns the original photograph titled “AU1994169” shown below
  24   which was registered with the United States Copyright Office on March 11, 2020,
  25   under Registration Number VA 2-199-818 (Subject Photograph 26).
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                                    SECOND AMENDED COMPLAINT
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   1                                Subject Photograph 26
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  10        51.    Kim owns the original photograph “AU1993544” shown below which
  11   was registered with the United States Copyright Office on March 11, 2020, under
  12   Registration Number VA 2-199-818 (Subject Photograph 27).
  13                                Subject Photograph 27
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  23        52.    Kim owns the original photograph titled “AU1993717” shown below
  24   which was registered with the United States Copyright Office on March 11, 2020,
  25   under Registration Number VA 2-199-818 (Subject Photograph 28).
  26   //
  27   //
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                                   SECOND AMENDED COMPLAINT
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   1                                 Subject Photograph 28
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  12        53.    For all times relevant to his action, Kim has appointed Plaintiff
  13   AUGUST as his exclusive administrator and publisher of all copyright rights in and
  14   to Subject Photograph 18 through Subject Photograph 28 (collectively, the “Subject
  15   Photographs”). As such, AUGUST is entitled to institute and maintain this action for
  16   copyright infringement. 17 U.S.C §501(b).
  17        54.    Plaintiff is informed and believes and thereon alleges that following its
  18   publication and display of the Subject Photographs, PMC, DOE Defendants, and
  19   each of them used the Subject Photographs without Plaintiff’s authorization for
  20   commercial purposes in various ways, including, but not limited to, the use on
  21   websites such as https://hollywoodlife.com and https://pmcdeadline.com.
  22        55.    Screen captures of said uses are set forth hereinbelow:
  23   //
  24   //
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                                     SECOND AMENDED COMPLAINT
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                                  SECOND AMENDED COMPLAINT
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  20               CLAIMS RELATED TO SUBJECT PHOTOGRAPHS 29-30
  21         56.     Ben Hassett (“Hassett”) is one of the most sought-after photographers
  22   in the world and is best known for his striking portrait photography. He is a regular
  23   contributor to Vogue magazines worldwide, and also contributes to Vanity Fair, W
  24   magazine, and The New York Times, his clients include Omega, Dior, L’Oreal,
  25   Wella, Givenchy, Clarins and Rimmel. His work has been featured at the Annenberg
  26   Space for Photography.
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   1        57.    Hassett owns the original photograph of actress Jennifer Lawrence titled
   2   “AU11341086” shown below which was registered with the United States Copyright
   3   Office on May 15, 2020, under Registration Number VA 2-206-878 (Subject
   4   Photograph 29).
   5                                 Subject Photograph 29
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  14        58.    Hassett owns the original photograph titled “AU11341108” shown
  15   below which was registered with the United States Copyright Office on May 15,
  16   2020, under Registration Number VA 2-206-878 (Subject Photograph 30).
  17                                 Subject Photograph 30
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  26        59.    For all times relevant to his action, Hassett has appointed Plaintiff
  27   AUGUST as his exclusive administrator and publisher of all copyright rights in and
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   1   to Subject Photograph 29 and Subject Photograph 30 (collectively, the “Subject
   2   Photographs”). As such, AUGUST is entitled to institute and maintain this action for
   3   copyright infringement. 17 U.S.C §501(b).
   4        60.    Plaintiff is informed and believes and thereon alleges that following its
   5   publication and display of the Subject Photographs, PMC, DOE Defendants, and
   6   each of them used the Subject Photographs without Plaintiff’s authorization for
   7   commercial purposes in various ways, including, but not limited to, the use on
   8   websites such as https://hollywoodlife.com and www.sheknows.com.
   9        61.    Screen captures of said uses are set forth hereinbelow:
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   1              CLAIMS RELATED TO SUBJECT PHOTOGRAPHF 31
   2        62.     Ari Michelson (“Michelson”) is an American fashion and portrait
   3   photographer whose editorial clients include People Magazine, Health, Redbook,
   4   Shape, More, Lucky, FHM Magazine, and Esquire. He has also done advertising for
   5   Adidas, Fox motocross, Anchor Blue, Red Bull, Sony, and Virgin Records.
   6        63.    Michelson owns the original photograph of actress Michelle Monaghan
   7   Lawson titled “AU1986658” shown below which was registered with the United
   8   States Copyright Office on August 19, 2020, under Registration Number VA 2-215-
   9   008 (Subject Photograph 31).
  10                                  Subject Photograph 31
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  18        64.    For all times relevant to this action, Michelson has appointed Plaintiff
  19   AUGUST as his exclusive administrator and publisher of all copyright rights in and
  20   to Subject Photograph 31. As such, AUGUST is entitled to institute and maintain
  21   this action for copyright infringement. 17 U.S.C §501(b).
  22        65.    Plaintiff is informed and believes and thereon alleges that following its
  23   publication and display of the Subject Photograph 31, PMC, DOE Defendants, and
  24   each of them used the Subject Photograph 31 without Plaintiff’s authorization for
  25   commercial purposes in various ways, including, but not limited to, the use on
  26   websites such as https://deadline.com and https://pmcdeadline.com.
  27        66.    Screen captures of said uses are set forth hereinbelow:
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  10              CLAIMS RELATED TO SUBJECT PHOTOGRAPH 32
  11        67.    Romona Rosales (“Rosales”) is an American photographer known for
  12   her candid, offbeat portraits of celebrities. Her photography has been awarded by
  13   Communication Arts, American Photography, and Photo District News.
  14        68.    Rosales owns the original photograph of American actress Jessica
  15   Chastain titled “AU11190994” shown below which was registered with the United
  16   States Copyright Office on October 5, 2020, under Registration Number VA 2-221-
  17   619 (Subject Photograph 32).
  18                                  Subject Photograph 32
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   1        69.     For all times relevant to this action, Rosales has appointed Plaintiff
   2   AUGUST as her exclusive administrator and publisher of all copyright rights in and
   3   to Subject Photograph 32. As such, AUGUST is entitled to institute and maintain
   4   this action for copyright infringement. 17 U.S.C §501(b).
   5        70.     Plaintiff is informed and believes and thereon alleges that following its
   6   publication and display of the Subject Photograph 32, PMC, DOE Defendants, and
   7   each of them used the Subject Photograph 32 without Plaintiff’s authorization for
   8   commercial purposes in various ways, including, but not limited to, the use on
   9   websites such as https://pmcdeadline.com, and https://sheknows.com.
  10        71.     Screen captures of said uses are set for herein below:
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  22                               FIRST CLAIM FOR RELIEF
  23              (For Copyright Infringement - Against All Defendants, and Each)
  24        72.      Plaintiff repeats, realleges and incorporates herein by reference as
  25   though
  26   fully set forth the allegations contained in the preceding paragraphs of this
  27   Complaint.
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   1         73.      Plaintiff is informed and believes and thereon alleges that Defendants,
   2   and each of them, had access to Subject Photograph 1 through Subject Photograph
   3   32 (collectively, the “Subject Photographs”), including, without limitation, through
   4   Plaintiff’s website and social media accounts or viewing the Subject Photographs on
   5   third-party websites (e.g., Tumblr, Pinterest, etc.).
   6         74.      Plaintiff is informed and believes and thereon alleges that Defendants,
   7   and each of them, used and distributed images of the Subject Photographs, and
   8   exploited said images in multiple website posts without Plaintiff’s authorization or
   9   consent.
  10         75.      Due to Defendants’, and each of their, acts of infringement, Plaintiff has
  11   suffered damages in an amount to be established at trial.
  12         76.      Due to Defendants’, and each of their, acts of copyright infringement as
  13   alleged herein, Defendants, and each of them, have obtained profits they would not
  14   otherwise have realized but for their infringement of the Subject Photographs. As
  15   such, Plaintiff is entitled to disgorgement of Defendants’, and each of their, profits
  16   attributable to the infringement of the Subject Photographs in an amount to be
  17   established at trial.
  18         77.      Plaintiff is informed and believes and thereon alleges that Defendants,
  19   and each of them, have committed copyright infringement with actual or
  20   constructive knowledge of Plaintiff’s rights such that said acts of copyright
  21   infringement were, and continue to be, willful, intentional and malicious.
  22                                  PRAYER FOR RELIEF
  23         Wherefore, Plaintiff prays for judgment as follows:
  24               a. That Defendants—each of them—and their respective agents and
  25                 servants be enjoined from importing, manufacturing, distributing,
  26                 offering for sale, selling or otherwise trafficking in any product that
  27                 infringes Plaintiff’s copyrights in the Subject Photographs;
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   1            b. That Plaintiff be awarded all profits of Defendants, and each of them,
   2               plus all losses of Plaintiff, the exact sum to be proven at the time of trial,
   3               or, if elected before final judgment, statutory damages as available under
   4               the Copyright Act, 17 U.S.C. § 101 et seq.;
   5            c. That Plaintiff be awarded its attorneys’ fees as available under the
   6               Copyright Act U.S.C. § 101 et seq.;
   7            d. That Plaintiff be awarded pre-judgment interest as allowed by law;
   8            e. That Plaintiff be awarded the costs of this action; and
   9            f. That Plaintiff be awarded such further legal and equitable relief as the
  10               Court deems proper.
  11         Plaintiff demands a jury trial on all issues so triable pursuant to Fed. R. Civ. P.
  12   38 and the 7th Amendment to the United States Constitution.
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       Dated: March 4, 2021                            DONIGER/BURROUGHS
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  15
                                              By:      /s/ Stephen M. Doniger
                                                       Stephen M. Doniger, Esq.
  16                                                   Elina E. Kharit, Esq.
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                                                       Attorneys for Plaintiff

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                                      SECOND AMENDED COMPLAINT
